Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19     PageID.1452   Page 1 of 8



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 AMERICON GROUP, INC.
 GARR ELECTRIC CO., INC., and
 DETROIT SPECTRUM PAINTERS, INC.

              Plaintiffs,

 v                                          Case No. 2:14-cv-10785-DML-LJM
                                            Hon. Matthew F. Leitman

 MARCO CONTRACTORS, INC., a
 OLD REPUBLIC INSURANCE COMPANY,

              Defendants.

 __________________________________________________________________/

            RESPONSE TO DEFENDANTS’ MOTION TO ENFORCE
            SETTLEMENT AGREEMENTS AND FOR SANCTIONS

       NOW COME Plaintiffs, Americon Group, Inc., and Garr Electric Co., by

 and through their counsel, Schwartz Law Firm, P.C. and for their Response to

 Defendants’ Motion to Enforce Settlement Agreements and for Sanctions, state as

 follows:

       As of the date hereof, all requested and required documents as set forth in

 the settlement agreements between the parties have been forwarded to counsel for

 Defendants. As such, the portion of Defendants’ Motion that requests specific

 performance of the Settlement Agreements is moot.


                                   Page 1 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19      PageID.1453    Page 2 of 8



       As to the remaining request of Defendants, Plaintiffs deny that Defendants

 are entitled to the relief requested. Moreover, Defendants did not comply with the

 requirements of LR 7.1(a) prior to filing their Motion, and had they done so, these

 proceedings would have been unnecessary. Accordingly, Plaintiffs request that the

 Motion be dismissed.

                                       Respectfully submitted,

                                       SCHWARTZ LAW FIRM, P.C.

                                       By: /s/ Mary A. Mahoney
                                           Attorney for Plaintiffs Americon Group,
                                           Inc. and Garr Electric Co., Inc.
                                           37887 West Twelve Mile Road, Suite A
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 Dated: March 26, 2019                     P41568




                                    Page 2 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19      PageID.1454    Page 3 of 8



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 AMERICON GROUP, INC.
 GARR ELECTRIC CO., INC., and
 DETROIT SPECTRUM PAINTERS, INC.

              Plaintiffs,

 v                                           Case No. 2:14-cv-10785-DML-LJM
                                             Hon. Matthew F. Leitman

 MARCO CONTRACTORS, INC., a
 OLD REPUBLIC INSURANCE COMPANY,

              Defendants.

 _________________________________________________________________/

     BRIEF IN OPPOSITION TO RESPONSE TO DEFENDANTS’ MOTION
     TO ENFORCE SETTLEMENT AGREEMENTS AND FOR SANCTIONS

 FACTUAL SUMMARY

        In their Motion, Defendants seeks specific performance of two obligations

 on the part of each Plaintiff: (1) to provide a “Release of Claim Against Lien

 Bond” pursuant to paragraph 5 of each Settlement Agreement, and (2) to provide a

 Release of Lien. Both original documents, fully executed by the principal of each

 Plaintiff, were provided to counsel for Defendants as of March 13 for Garr Electric

 and as of March 15 for Americon. Having been provided all documentation

 required under both Agreements, there is nothing additional for this Court to order

 by way of the equitable remedy of specific performance. In fact, Plaintiffs had
                                    Page 3 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19         PageID.1455    Page 4 of 8



 intended to record the discharges of liens on behalf of Defendants, insofar as

 Plaintiffs’ counsel is local and Defendants’ counsel is located in Pennsylvania,

 however, in light of the pending motion, Plaintiff’s counsel was forced to simply

 provide the original documents to defense counsel as required in the agreement.

       If Defendants’ counsel had contacted undersigned counsel, as required by

 the meet and confer rule set forth in LR 7.1(a), prior to filing its Motion, counsel

 would have explained that she and her administrative staff had been in contact with

 the Plaintiff’s principals and were waiting for original documents to be returned for

 recording purposes. The motion would have been unnecessary had Defendants

 followed the procedure set forth in the Local Rules. The last contact between

 Plaintiffs’ counsel and Defendants’ counsel prior to the filing of the instant Motion

 on March 12 had been the sternly-worded email chain from February 13, and the

 response on February 15, wherein, Plaintiffs’ counsel indicated that her office was

 in the process of obtaining and recording the lien discharges, and further that no

 bond releases had been provided for Plaintiffs to execute. The releases were

 provided to Plaintiffs’ counsel that day, and forwarded to Plaintiffs for signature.

       The settlement agreements in this case were signed by Plaintiffs at the end of

 September, 2018, and forwarded via email to Defendants’ counsel on September

 28, 2018. Plaintiffs’ counsel also forwarded lien discharges to her clients for

 signature. Although counsel’s admin indicated that originals were needed, for

                                      Page 4 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19       PageID.1456    Page 5 of 8



 unknown reasons one of the clients was not as responsive about returning the

 original signed lien discharge by mail. The client was reminded via voicemail on

 numerous occasions and also via text message, prior to February 13, 2019. On

 March 11, 2019, counsel once again sent a text message to her client to obtain a

 return of the original discharges, and the client responded that he would mail them

 out immediately, and that he had forgotten to do so earlier. The other client’s

 original discharge was being held, anticipating prompt return of the other client’s

 discharge, so that they could all be recorded at one time (nothing in the settlement

 agreement required Plaintiffs’ counsel to actually record the documents, but she

 had offered to do so as an accommodation).

       Of course, at this time, Plaintiffs’ counsel did not know that Defendants

 would be filing a motion for enforcement on March 12, without contacting her to

 discuss whether she would concur in the relief requested. Upon receipt of the

 instant Motion on the afternoon of March 12, counsel instructed her admin to

 immediately prepare correspondence to forward the original documents from Garr

 Electric, and on March 15, 2019, the original documents for Americon were also

 forwarded.

       Although Plaintiffs’ counsel understands the necessity to fully comply with

 the executor provisions in the settlement agreement, and understands Defense

 counsel’s impatience, the settlement funds in this matter were not sent until

                                     Page 5 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19        PageID.1457      Page 6 of 8



 November 29, after several requests by counsel. The releases for the bonds,

 required under the agreement to be provided by Defendants, were not sent to

 Plaintiffs’ counsel until February 15. There was no dilatory intent on the part of

 either Plaintiffs or their counsel with respect to this matter.   It is interesting that

 Defendants now claim extreme prejudice from the delay in returning these

 documents, and Plaintiffs remind the Court that it was Defendants’ conduct earlier

 in this litigation that caused a 2-year delay in these proceedings and necessitated

 nearly 2 further years of litigation up to the day of trial, as Defendants declined to

 include Plaintiffs in an arbitration proceeding as it was ordered to do by the Court.

                                LEGAL ARGUMENT

       1.     Defendants’ request for specific performance is moot.

       Defendants have been provided all documentation required under both

 Settlement Agreements. The relief requested in Defendants’ Motion of specific

 performance is no longer applicable, as there is no executory provision of the

 Settlement Agreements that has not been fulfilled. As such, Defendants’ prayer for

 relief is moot and not justifiable.

       2.     Defendants should not be found entitled to sanctions, where they
              failed to follow LCR 7.1’s “meet and confer” requirement prior to
              filing its Motion, and where the delay in this matter was not the
              product of bad faith or vexatious intent.

       Defendants seek sanctions under the Court’s inherent powers as well as

 pursuant to paragraph 10 of the Settlement Agreement. Since the remedy of
                                       Page 6 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19       PageID.1458    Page 7 of 8



 specific performance is now moot, there can be no ruling of the Court that renders

 Defendants the “prevailing party” under the Settlement Agreement.         Sanctions

 under that section are inappropriate, particularly where Defendants failed to

 comply with the “meet and confer” rule set forth in LCR 7.1(a). Other than the

 email suggesting that Defendants might file a motion if Plaintiff did not respond by

 February 15, there was no attempt by Defendants to seek concurrence in the relief

 requested. Plaintiffs’ counsel has never disputed that the documents were owed to

 Defendants. Plaintiffs’ counsel did respond by the indicated date, and advised that

 the documentation requested was being gathered, and that some of the requested

 documents needing signature had not been provided yet. Although there was

 admittedly some delay in returning the documents, there was no bad faith or

 vexatious intent on the part of Plaintiffs’ counsel. Counsel even offered to take on

 a responsibility that was not hers under the Agreements – to deliver the Lien

 Discharges to the local registers of deeds for recording. This additional task was

 not completed due to the filing of the motion and counsel’s efforts to immediately

 provide the requested documents. Counsel’s final request to her client to return the

 original documents preceded the filing of the motion, demonstrating that she was

 attempting to obtain her client’s compliance with the requirements. If Defendants’

 counsel had attempted to reach out to counsel before filing the motion, he would




                                     Page 7 of 8
Case 2:14-cv-10785-MFL-LJM ECF No. 109 filed 03/26/19        PageID.1459    Page 8 of 8



 have been advised that completion was imminent. This is the purpose of the local

 rule.

         Sanctions are not appropriate under the circumstances set forth herein.

 Plaintiffs request that Defendants’ Motion be dismissed.

                                         Respectfully submitted,

                                         SCHWARTZ LAW FIRM, P.C.

                                         By: /s/ Mary A. Mahoney
                                             Attorney for Plaintiffs Americon Group,
                                             Inc. and Garr Electric Co., Inc.
                                             37887 West Twelve Mile Road, Suite A
                                             Farmington Hills, Michigan 48331
                                             (248) 553-9400
                                             mmahoney@schwartzlawfirmpc.com
 Dated: March 26, 2019                       P41568

                              CERTIFICATE OF SERVICE

         I hereby certify that on March 26, 2019, I electronically filed the foregoing

 paper with the Clerk of the Court sending notification of such filing to all counsel

 registered electronically.

                                         By: /s/ Mary A. Mahoney
                                             Attorney for Plaintiffs Americon Group,
                                             Inc. and Garr Electric Co., Inc.
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                                             P41568


                                      Page 8 of 8
